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                                            No. 21-1616

                     In the United States Court of Appeals
                             for the Fourth Circuit
                                ____________________________

                        THOMAS KRAKAUER, on behalf of a class of persons,
                                     Plaintiff-Appellee,
                                                v.
                                     DISH NETWORK LLC,
                                       Defendant-Appellant.
                                ____________________________
                      On Appeal from the United States District Court
                         for the Middle District of North Carolina
                              Case No. 1:14-cv-00333-CCE-JEP
                    (The Honorable Catherine C. Eagles, District Judge)
             _________________________________________________________
                   PLAINTIFF-APPELLEE’S REPLY IN SUPPORT
              OF MOTION TO DISMISS FOR LACK OF JURISDICTION
             _________________________________________________________


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                                          INTRODUCTION
               After more than seven years of hard-fought litigation, Dish’s interest in this

        case is now at an end. The district court’s judgment has been affirmed by this Court,

        fully paid by Dish, and distributed to the class. The district court has rejected Dish’s

        bid for reversion of remaining unclaimed funds, and the time in which to appeal that

        decision has long since passed. Dish, in short, no longer has anything to gain from

        this appeal. As our motion explains, this Court consequently lacks jurisdiction over

        Dish’s appeal, for three reasons—none of which Dish effectively counters.

               First, Dish lacks standing to appeal the district court’s order disposing of class

        funds. This Court already held that Dish’s post-judgment standing is “contingent”

        on a decision by the district court that Dish is entitled to reversion of unclaimed

        funds. Order at 2, Krakauer v. Dish Network, LLC, No. 20-1077, Dkt. 50 (4th Cir. Dec. 1,

        2020). The district court decided that “reversion is not appropriate” and that Dish,

        as a consequence, has no further “interest in the judgment funds.” Dkt. 588 at 1–2.

        Dish now says, without explanation, that it retains a “colorable claim” for return of

        the unclaimed funds. But Dish did not appeal the district court’s decision within the

        jurisdictional thirty-day appeal period, so that order is now final. Dish’s mere desire

        for return of the funds is not, in the face of the district court’s final order, a “colorable

        claim.” Under the law of the case, Dish thus “lacks standing” to bring this appeal.

        Order at 2, Krakauer v. Dish Network, LLC, No. 20-1077, Dkt. 50 (4th Cir. Dec. 1, 2020).



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               Second, this Court lacks subject-matter jurisdiction because Dish did not timely

        appeal the district court’s order denying it reversion and ending its interest in the

        case. In strikingly similar circumstances, the U.S. Supreme Court held in Boeing Co.

        v. Van Gemert that, when a district court’s post-judgment order disposes of “the only

        issue in which [the defendant] still had an interest” in the unclaimed portion of a

        judgment fund, the defendant can “secure review” of that issue “only by appealing

        from this adverse judgment.” 444 U.S. 472, 481 n.7 (1980). Dish tries to distinguish

        Boeing (at 23–24) on the ground that it involved allocation of attorneys’ fees instead of

        cy pres, but that factual distinction is immaterial to the Supreme Court’s holding.

        Under Boeing, the district court’s denial of reversion was a “final judgment” on the

        only issue in which Dish still had an interest in the case and was thus immediately

        appealable. Id. Dish did not appeal that decision, and it is too late to do so now.

               Third, even if this Court had jurisdiction to review the district court’s order

        denying reversion of unclaimed funds, Dish has waived any challenge to that order.

        Dish devotes its brief on appeal to challenging the district court’s decision to award

        cy pres. But although it summarily asks this Court to order reversion, it never

        disputes the district court’s earlier decision that reversion is “not appropriate” as an

        alternative to either cy pres or federal escheat. Dkt. 588 at 1. Even if it were to prevail

        on its arguments regarding cy pres, Dish would thus not be entitled to reversion here.




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              For all three reasons, Dish lacks a cognizable interest in this appeal. This

        Court should therefore dismiss the appeal for lack of jurisdiction.

                                            ARGUMENT
        I.    Dish lacks any cognizable interest in the judgment fund and
              therefore lacks standing to appeal.

              “A party must be ‘aggrieved’ by a district court judgment or order in order to

        have standing to appeal.” HCA Health Servs. v. Metro. Life Ins., 957 F.2d 120, 123 (4th

        Cir. 1992). As this Court held in dismissing Dish’s first post-judgment appeal, Dish

        “lack[ed] standing” to appeal the district court’s post-judgment orders on unclaimed

        funds. Order at 2, Krakauer v. Dish Network, LLC, No. 20-1077, Dkt. 50 (Dec. 1, 2020).

        And “Dish’s interest” in challenging future orders, this Court explained, was

        “contingent upon” the “resol[ution] in the district court” of “whether any unclaimed

        class funds revert to Dish.” Id.

              Given that holding, the district court’s resolution of the unclaimed-funds issue

        against Dish ended its interest in the case. Dkt. 588 at 1–2. After the district court’s

        order, Dish lacked a “legally protected interest … that would be invaded by

        diminution of that fund.” Tennille v. W. Union Co., 809 F.3d 555, 561 (10th Cir. 2015).

        And, as a consequence, it has “no cognizable interest in further litigation” over the

        fund’s distribution. Boeing, 444 U.S. at 481 n.7.

              Dish nevertheless contends that it has standing because it somehow retains a

        “colorable claim for the return of” unclaimed funds. Boeing, 444 U.S. at 481 n.7. But


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        that’s precisely the problem: Dish no longer has such a colorable claim. The district

        court ruled out the possibility of reversion more than a year ago, holding that Dish

        lacked any further “interest in the judgment funds it has already paid and which the

        Court has decided will not revert to it.” Dkt. 588 at 2. And Dish, ignoring that

        warning, did not timely appeal from that decision. Dish can have no “colorable

        claim” where the district court’s now-final order gave it “no right to the return of

        excess funds.” Tennille, 809 F.3d at 562.

              In short, under the law of the case, Dish “lacks standing” to bring this appeal.

        Order at 2, Krakauer v. Dish Network, No. 20-1077, Dkt. 50 (4th Cir. Dec. 1, 2020).

        II.   This Court lacks subject-matter jurisdiction over the district
              court’s reversion order because Dish did not timely appeal that
              order.

              A. Even if Dish were correct that it somehow retains a cognizable interest in

        the judgment fund, this Court lacks jurisdiction for another reason: Dish failed to

        timely appeal the district court’s order ending its interest in the case.

              The Supreme Court’s decision in Boeing makes that clear. As here, the district

        court in Boeing awarded an aggregate judgment, which the defendant paid in full. See

        444 U.S. at 481 n.7. The question was whether the district court’s order allocating

        money from that judgment fund was an immediately appealable final decision. See

        id. The Supreme Court held that, when a district court’s post-judgment order

        disposes of “the only issue in which [the defendant] still had an interest” in the



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        unclaimed portion of a class fund, the defendant can “secure review” of that issue

        “only by appealing from this adverse judgment.” Id. at 481 n.7 (emphasis added).

        Because such an order is “a final judgment on the only issue” of remaining interest

        to the defendant, the defendant can—and must—immediately appeal it. Id. at 481

        n.7.

               Boeing is materially indistinguishable from this case, and its holding resolves

        this appeal. Here, the district court’s decision ruling out the possibility of reversion

        was, as in Boeing, “a final judgment on the only issue in which [Dish] still had an

        interest.” Id. at 481 n.7. Thus, Dish could have “secur[ed] review” of the district

        court’s reversion decision “only by appealing from this adverse judgment.” Id.

        Because it did not do so, Dish has “no cognizable interest in further litigation” over

        the unclaimed funds. Id.

               Dish makes only a half-hearted attempt to distinguish Boeing (at 23–24) on its

        facts, arguing that the question there “was how to assess attorney’s fees,” while here

        it “is how to dispose of unclaimed funds.” That is true, but it makes no difference,

        and Dish never explains how it could. The reason that the defendant in Boeing had

        “no interest in the amount of attorney fees awarded” was because those fees were

        “to be paid from the class recovery rather than the defendant’s coffers.” Tennille, 809

        F.3d at 559. And the same is true of the district court’s cy pres order here—it is to

        be paid from the aggregate judgment rather than from Dish. In either case, Boeing



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        stands for the proposition “that a defendant has no interest in how the class members

        apportion and distribute a damage fund.” Allapattah Servs., Inc. v. Exxon Corp., 333 F.3d

        1248, 1258 (11th Cir. 2003). That rule controls here.

                 For example, the defendant in In re Urethane Antitrust Litigation argued—like

        Dish here—that the district court’s distribution of a judgment fund to class members

        violated the Seventh Amendment. 768 F.3d 1245, 1269 (10th Cir. 2014). The Tenth

        Circuit rejected the argument and dismissed the appeal, holding that “Dow has no

        interest in the method of distributing the aggregate damages award among the class

        members.” Id.; see also Six (6) Mexican Workers v. Ariz. Citrus Growers, 904 F.2d 1301,

        1307 (9th Cir. 1990) (“Where the only question is how to distribute the damages, the

        interests affected are not the defendant’s but rather those of the silent class

        members.”). In the same way, Dish has no interest in the district court’s award of cy

        pres.1




                 1Dish devotes much of its brief to arguing that the plaintiffs’ argument
        contradicts the position they took in Dish’s first post-judgment appeal. But that takes
        the plaintiffs’ argument out of context. True, they argued that the district court’s
        post-judgment orders would not be final before its “final order disposing of
        unclaimed funds.” See Motion to Dismiss at 16-21, No. 20-1077, Doc. 40, at 16. But the
        reason the orders were not final, as the plaintiffs explained, was that the court had not
        yet ruled on Dish’s entitlement to reversion of unclaimed funds. In any event, the
        plaintiffs’ view of finality cannot determine this Court’s jurisdiction. See In re Kirkland,
        600 F.3d 310, 314 (4th Cir. 2010) (holding that this Court’s jurisdiction cannot be
        forfeited or waived).

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              B. Dish argues (at 25) that the district court’s order denying reversion was a

        “classic interlocutory” order—and therefore not immediately appealable—because,

        although it decided that unclaimed judgment funds would not revert to Dish, it “left

        open the question of how the funds would be distributed.” The order could not have

        been a final judgment, Dish concludes, because it did not finally resolve all issues

        related to the unclaimed funds. See id.

              That, however, does not distinguish this case from Boeing. The order appealed

        there did not finally conclude the issue of attorneys’ fees either. The order did “not

        fix the amount of attorney’s fees” and left their method of calculation

        “undetermined.” Boeing, 444 U.S. at 479 n.5. Indeed, the only issue the order decided

        was that the fees—when eventually awarded—would be assessed “against the entire

        fund.” Id. at 481 n.7. Nevertheless, the Supreme Court held the order immediately

        appealable because it “was a final judgment on the only issue in which [the

        defendant] still had an interest” in the unclaimed portion of a class fund. Id.

              That conclusion is not, as Dish suggests, inconsistent with the final-judgment

        rule. Dish argues (at 15–16) that finality requires a single appeal to resolve all issues

        in the case. But that is the rule for “final judgments on the merits.” Dish Br. 16 (quoting

        James v. Jacobson, 6 F.3d 233, 237 (4th Cir. 1993) (emphasis added)). In contrast, when

        “post-judgment orders are involved,” finality concerns “are less likely to be decisive.”

        Deloach v. Lorillard Tobacco Co., 391 F.3d 551, 559 (4th Cir. 2004). Such orders often



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        “resolve completely the … issues raised and do not present the same risks for

        piecemeal appeal that prejudgment orders do.” Id. Indeed, this Court has recognized

        that, “once the original trial proceedings have been completed, final judgment

        appeal should be available upon conclusion of most post-judgment proceedings.”

        United States v. Doe, 962 F.3d 139, 143 (4th Cir. 2020) (emphasis added).

              As in Boeing, the district court’s order denying reversion satisfied the practical

        requirements of post-judgment finality because it was final decision resolving Dish’s

        last remaining interest in the case. True, “the question of how to distribute unclaimed

        funds remained open.” Dish Br. at 18. But following the district court’s order, Dish

        no longer has any interest in the outcome of that question. Because the order put

        Dish “out of the case,” it “could not possibly have been affected” by any further

        action by the district court. Dickinson v. Petroleum Conversion Corp., 338 U.S. 507, 514–

        515 (1950); see also Tweedle v. State Farm Fire & Cas. Co., 527 F.3d 664, 670 (8th Cir.

        2008) (holding a post-judgment order appealable when it put the defendant “out of

        the litigation”). Put another way, the decision ended the post-judgment litigation as

        to Dish. And Boeing teaches that Dish can seek review of that order only through an

        immediate appeal. See Boeing, 444 U.S. at 481 n.7. Because Dish did not do so, under

        controlling Supreme Court precedent, this Court lacks jurisdiction to review the

        order now.




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        III.   Dish has not challenged the district court’s order denying it
               reversion.

               Finally, Dish also lacks an interest in this appeal because it has waived any

        argument that it is entitled to reversion of unclaimed funds. Dish devotes its brief on

        appeal to its legal and constitutional challenges to the district court’s award of cy

        pres. But it never challenges the district court’s earlier decision that reversion would

        be an “inappropriate” alternative. Dkt. 588 at 1. Thus, even if Dish were to prevail

        in its arguments against cy pres, Dish would stand to gain nothing.

               Dish claims (at 2) that it did challenge the reversion order, pointing to a

        summary request in its brief that unclaimed funds “be returned” to it. But Dish made

        no argument in support of that request. “[E]ven if [its] brief takes a passing shot at

        the issue,” Dish still waived it by “fail[ing] to develop [its] argument.” Brown v. Nucor

        Corp., 785 F.3d 895, 923 (4th Cir. 2015). Its mere assertion, “without argument or

        explanation,” that it is entitled to unclaimed funds is not enough to preserve the issue.

        Grayson O Co. v. Agadir Int’l LLC, 856 F.3d 307, 316 (4th Cir. 2017).

               The district court gave several reasons for rejecting reversion, each carefully

        supported by authority. See Dkt. 590. First, the court noted that “[m]oney not

        claimed by class members should be used for the class’s benefit to the extent that is

        feasible”—a goal not served by reversion. Id. Second, it recognized that reversion is

        inappropriate where, as here, deterrence is a statutory goal. Id. Third, it concluded

        that reversion would be particularly inappropriate here because “Dish willfully


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        violated the statute.” Id. And fourth, it cited “Dish’s obstructive conduct after

        judgment” as an additional reason to deny reversion. Dkt. 590 at 10. In neither

        Dish’s opening brief nor its response to the motion to dismiss does Dish even

        acknowledge, much less challenge, the district court’s reasoning. Nor does it ever

        dispute the court’s conclusion that other alternatives, like federal escheat, would be

        superior to reversion. See id.

               Dish’s only response (at 14) is that, if the district court’s award of cy pres was

        improper, then “reverter was the only possible method of distribution.” That

        assertion, however, is just as unsupported as the one in its brief. It is also plainly

        wrong. In the order that Dish appeals here, the district court decided “between cy

        pres” and “escheat to the federal government”—neither of which would have

        benefitted Dish. Dkt. 620 at 3. The court did not even consider reversion as an

        alternative. Thus, even if this Court were to agree with Dish and reverse the district

        court’s choice of a cy pres distribution, the alternative would be federal escheat—not

        reversion to Dish. For this reason, too, Dish has no cognizable interest in this appeal.

                                           CONCLUSION
               The Court should dismiss this appeal for lack of jurisdiction.



                                                           Respectfully submitted,

                                                           /s/Deepak Gupta
                                                           DEEPAK GUPTA


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                               CERTIFICATE OF COMPLIANCE
              This motion complies with the type-volume limitation of Federal Rule of

        Appellate Procedure 27(d)(2)(A) because it contains 2,597 words. This motion complies

        with the typeface and typestyle requirements of Rule 27(d)(1)(E) because it has been

        prepared in proportionally spaced typeface using Microsoft Word in 14-point

        Baskerville font.


        November 29, 2021                                   /s/Deepak Gupta
                                                            Deepak Gupta
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                                 CERTIFICATE OF SERVICE
              I certify that on November 29, 2021, I electronically filed the foregoing motion

        with the Clerk of the Court for the U.S. Court of Appeals for the Fourth Circuit by

        using the CM/ECF system. All participants are registered CM/ECF users and will

        be served by the appellate CM/ECF system.

                                                            /s/Deepak Gupta
                                                            Deepak Gupta
